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 5
     Counsel for Plaintiff Yashasvi Patel
 6
 7   [Additional counsel on signature page]

 8
                          IN THE UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
10
11   YASHASVI PATEL, derivatively on          Case No.: 3:21-cv-06281-CRB
12   behalf of CONTEXTLOGIC INC.,
13
14
             Plaintiff,
15
                                                    JOINT STIPULATION AND
16           v.                                   [PROPOSED] ORDER TO STAY
17                                                    DERIVATIVE ACTION
     PIOTR SZULCZEWSKI, RAJAT
18   BAHRI, BRETT JUST, JULIE
     BRADLEY, ARI EMANUEL, JOE
19   LONSDALE, JACQUELINE RESES,
20   TANZEEN SYED, STEPHANIE
     TILENIUS, and HANS TUNG,
21
22           Defendants,
23
             and
24
     CONTEXTLOGIC INC.,
25
26           Nominal Defendant.
27
28
     JOINT STIPULATION AND [PROPOSED] ORDER                     Case No.: 3:21-cv-06281-CRB
     TO STAY DERIVATIVE ACTION
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 1          WHEREAS, on August 13, 2021, plaintiff Yashasvi Patel (“Plaintiff”) initiated the
 2   above-captioned action (the “Derivative Action”) by filing a verified shareholder
 3   derivative complaint in this Court on behalf of nominal defendant ContextLogic Inc.
 4   (“ContextLogic”) against certain of the current and former officers and directors of
 5   ContextLogic (the “Individual Defendants,” and together with ContextLogic, the
 6   “Defendants”; Plaintiff and Defendants, the “Parties”);
 7          WHEREAS, on November 29, 2021, the Court issued an order, based on the Parties’
 8   stipulation, setting deadlines of February 18, 2022 for Defendants’ response to the
 9   complaint and April 29, 2022 for the Parties’ submission of a Joint Case Management
10   Statement (ECF No. 13);
11          WHEREAS, counsel for the Parties have conferred regarding the status of this
12   litigation;
13          WHEREAS, the Derivative Action involves some of the same parties and factual
14   allegations as three related federal securities fraud class actions pending before the Court,
15   captioned Hoang v. ContextLogic, Inc. et al., No. 3:21-cv-03930; Asmat v. ContextLogic,
16   Inc. et al., No. 3:21-cv-05015; and Lam v. ContextLogic Inc. et al., No. 3:21-cv-05411,
17   which the Parties anticipate will be consolidated (the “Securities Class Action”);
18          WHEREAS, the Parties anticipate that the defendants in the Securities Class Action
19   will move to dismiss the claims in the Securities Class Action; and
20          WHEREAS, based upon the overlapping parties and factual allegations contained in
21   the Derivative Action and the Securities Class Action, and to avoid the unnecessary
22   expenditure of judicial resources, the Parties have agreed, subject to this Court’s approval,
23   to temporarily stay the Derivative Action until the resolution of defendants’ anticipated
24   motion(s) to dismiss in the Securities Class Action.
25          NOW, THEREFORE, the Parties hereby stipulate and agree, subject to approval of
26   the Court, as follows:
27          1.     All proceedings in the Derivative Action will be stayed until resolution of
28
     JOINT STIPULATION AND [PROPOSED] ORDER                 -2-       Case No.: 3:21-cv-06281-CRB
     TO STAY DERIVATIVE ACTION
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 1   defendants’ anticipated motion(s) to dismiss in the Securities Class Action.
 2          2.        Defendants shall promptly notify Plaintiff of any derivative actions that
 3   contain substantially similar factual allegations and claims as the Derivative Action (each
 4   a “Related Derivative Action”).
 5          3.        Defendants shall promptly notify Plaintiff if any Related Derivative Action is
 6   not stayed.
 7          4.        In the event any Related Derivative Action is not stayed for the same duration
 8   of time as that set forth in this Stipulation, Plaintiff has the option to lift the stay upon thirty
 9   (30) days written notice to Defendants’ undersigned counsel via email.
10          5.        During the stay, Plaintiff may file an amended complaint, but Defendants need
11   not answer, move, or otherwise respond to any amended complaint filed in the Derivative
12   Action while the proceedings are stayed.
13          6.        Within thirty (30) days after the stay is lifted, the Parties shall meet and confer
14   and submit to the Court a proposed scheduling order governing further proceedings in the
15   Derivative Action.
16          7.        All deadlines, hearings, and trial setting will be postponed until after the stay
17   is lifted.
18          IT IS SO STIPULATED.
19
                                                  Respectfully submitted,
20
         Dated: December 29, 2021                 THE BROWN LAW FIRM, P.C.
21
                                            By: /s/ Robert C. Moest
22
                                                Robert C. Moest, Of Counsel (SBN 62166)
23                                              2530 Wilshire Boulevard, Second Floor
24                                              Santa Monica, California 90403
                                                Telephone: (310) 915-6628
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27                                                THE BROWN LAW FIRM, P.C.
                                                  Timothy Brown
28
     JOINT STIPULATION AND [PROPOSED] ORDER                    -3-          Case No.: 3:21-cv-06281-CRB
     TO STAY DERIVATIVE ACTION
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 4

 5                                             Counsel for Plaintiff

 6

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 8

 9
         Dated: December 29, 2021              GIBSON, DUNN & CRUTCHER LLP

10                                     By: /s/ Brian M. Lutz
11                                         Brian M. Lutz
                                           Michael J. Kahn
12                                         555 Mission Street, Suite 3000
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15                                         Email: BLutz@gibsondunn.com
                                           Email: MJKahn@gibsondunn.com
16

17                                             Counsel for Defendants
18

19                                       ATTESTATION
20

21         Pursuant to Civil Local Rule 5-1(h)(3), all signatories concur in filing this
22   stipulation.
23   Dated: December 29, 2021
24                                          /s/ Robert C. Moest
                                            Robert C. Moest
25

26

27                                         *       *      *
28
     JOINT STIPULATION AND [PROPOSED] ORDER                -4-         Case No.: 3:21-cv-06281-CRB
     TO STAY DERIVATIVE ACTION
           Case 3:21-cv-06281-CRB Document 14 Filed 12/29/21 Page 5 of 5



                                 [PROPOSED] ORDER
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 2   IT IS SO ORDERED.
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     DATED:
 4                                    The Honorable Charles R. Breyer
 5                                    United States District Judge

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     JOINT STIPULATION AND [PROPOSED] ORDER       -5-       Case No.: 3:21-cv-06281-CRB
     TO STAY DERIVATIVE ACTION
